 

LAWRENCE P. RAMIREZ (State Bar No. 141550)
LINDA KENY (State Bar No. 187()13)

NATALIE NABIZADA (State Bar No. 319798)
THE LITIGATION LAW GR()UP

111 North Market Street, Suite 1010

San Jose, CA 95113

Teleplione: 408 971~1119 Facsimile: 408 971-1129
Email: lprainirez@tliellg.coin; lindakeny@thellg.coin

Attorneys for Plaintiff, GLORIA CABRAL

UNITED STATES BANKRUPTCY COURT
IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION
GLORIA CABRAL, Lead Bankruptcy Case No: 18-51575
PLAINTIFR Adv. Pro. Case Nuinber: 18-05032

V` CERTIFICATE OF SERVICE
JEFFREY ALLEN MENTZOS, JEFFREY
ALLEN MENTZOS, as SUBSITUTED
TRUSTEE, KURT ANTHONY MILLER, an
individual, ZDENKA KOLARIK, an individual;
and DOES 1-10, lNCLUSlVE,

DEFENDANTS.

 

 

CERTIFICATE OF SERVICE:

1, Cassandra Sanchez, declare as follows:

l. 1 Work at The Litigation LaW Group, Which is located at 111 N. Market Street,
Ste 1010, San JOSe, CA. 95113. 1 ain over the age of 18 years and not a party to the above-
entitled action. 1 ain admitted to practice before this Court.

2. 1 ain "readily familiar" Witli the firin's practice of collection and processing

 

Certif`icate of Service

~1~

Case: 18-05032 Doc# 32 Filed: 10/08/18 Entered: 10/08/18 09:12:40 Page 1 of

 

 

correspondence for mailing 1t is deposited With the U.S. service on that same day in the-

ordinary course of business. 1 am aware that on motion of party served, service is presumed

invalid if postal cancellation date or postage meter date is more than one day after date of

deposit for mailing in affidavit

mail:

3. On the date of execution hereof, 1 served the following documents by first class

¢ Adversary Proceeding Cover Sheet

0 Alias Summons and Notice of Scheduling Conference in an Adversary
Proceeding

0 First Amended Complaint for Violation of the Automatic Stay

0 Order Re: lnitial Disclosures and Discovery Conference

0 Notice to Plaintiff

¢ BDRP Information Sheet

4. 1 served these documents by placing authentic of them in a sealed envelope With

postage thereon to the listed addresses:

Steven J. Sibley
John DiNapoli
DiNapoli & Sibley
Ten Almaden Blvd, Ste 1250
San Jose, CA 95113
sjs@dslaw.com
Attorneys for Defendants

1 declare under penalty of perjury that the foregoing is true and correct Executed on

October 4, 2018 at San Jose, California.

faa/mha

Cassandra Sanchez

 

Certit`icate of Service
~ 2 ~

Case: 18-05032 Doc# 32 Filed: 10/08/18 Entered: 10/08/18 09:12:40 Page 2 of

 

